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UNITED STATES DISTRICT COURT
WESTERN DISTRICT oF TENNESSEE @5 AUG 17 AH 9= !9
Western Division

   
    

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UNITED sTATEs oF AMERICA @~\ §§,.§§URT
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-vs- Case No. 2:05cr20158-2-Ml
KERRY ANDRE sHELTON

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlND|NGS
In accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing rnay be flled at a later date.

DlRECTlONS REGARDING DETENT|ON

KERRY ANDRE SHEL'I`ON is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeall KERRY ANDRE SHELTON shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection with a Court proceeding

Date: August 16, 2005

 

\ TU M. PHAM"~
UNITED sTATEs MAGISTRATE JUDGE

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UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 11 in
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Stuart J. Canale

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Honorable J on McCalla
US DISTRICT COURT

